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11
                        UNITED STATES DISTRICT COURT
12                     CENTRAL DISTRICT OF CALIFORNIA
13
     TERRY FABRICANT and DALTON ) Case No. 2:20-cv-11132
14   HUEGERICH , individually and on          )
15   behalf of all others similarly situated, ) CLASS ACTION
                                              )
16
     Plaintiffs,                              ) COMPLAINT FOR VIOLATIONS
17                                            ) OF:
18          vs.                               )
                                              ) 1. NEGLIGENT VIOLATIONS OF
19                                                 THE TELEPHONE CONSUMER
                                              )    PROTECTION ACT [47 U.S.C.
20   EXPANSION CAPITAL GROUP,                 )    §227 ET SEQ.]
     LLC, and DOES 1 through 10,              ) 2. WILLFUL VIOLATIONS OF THE
21                                                 TELEPHONE CONSUMER
     inclusive,                               )    PROTECTION ACT [47 U.S.C.
22                                            )    §227 ET SEQ.]
23
     Defendant.                               )
                                              ) DEMAND FOR JURY TRIAL
24
           Plaintiffs, TERRY FABICANT and DALTON HUEGERICH (“Plaintiffs”),
25
     individually and on behalf all others similarly situated, alleges the following upon
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     information and belief based upon personal knowledge:
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                                NATURE OF THE CASE
28
           1.     Plaintiffs bring this action individually and on behalf of others


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 1   similarly situated seeking damages and any other available legal or equitable
 2   remedies resulting from the illegal actions of EXPANSION CAPITAL GROUP,
 3   LLC (“Defendant”), in negligently, knowingly, and/or willfully contacting
 4   Plaintiffs on Plaintiff’s cellular telephone in violation of the Telephone Consumer
 5   Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”), thereby invading Plaintiffs’
 6   privacy.
 7                             JURISDICTION & VENUE
 8         2.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff
 9   FABRICANT, a resident of California, seeks relief on behalf of a Class, which will
10   result in at least one class member belonging to a different state than that of
11   Defendant, a company with its principal place of business and State of
12   Incorporation in South Dakota state. Plaintiffs also seeks up to $1,500.00 in
13   damages for each call in violation of the TCPA, which, when aggregated among a
14   proposed class in the thousands, exceeds the $5,000,000.00 threshold for federal
15   court jurisdiction. Therefore, both diversity jurisdiction and the damages threshold
16   under the Class Action Fairness Act of 2005 (“CAFA”) are present, and this Court
17   has jurisdiction.
18         3.       Venue is proper in the United States District Court for the Central
19   District of California pursuant to 18 U.S.C. 1391(b) and 18 U.S.C. § 1441(a)
20   because Defendant does business within the state of California and Plaintiff
21   FABRICANT resides within this District.
22                                       PARTIES

23         4.     Plaintiff, TERRY FABRICANT (“Plaintiff FABRICANT”), is a

24
     natural person residing in Winnetka, California and is a “person” as defined by 47

25
     U.S.C. § 153 (39).

26
           5.     Plaintiff, DALTON HUEGERICH (“Plaintiff HUEGERICH”), is a

27
     natural person residing in High Ridge, Missouri and is a “person” as defined by 47

28
     U.S.C. § 153 (39).



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 1         6.     Defendant, EXPANSION CAPITAL GROUP, LLC (“Defendant” or
 2   “DEFENDANT”), is a financial loan firm limited liability company and is a
 3   “person” as defined by 47 U.S.C. § 153 (39).
 4         6.     The above named Defendant, and its subsidiaries and agents, are
 5   collectively referred to as “Defendants.” The true names and capacities of the
 6   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 7   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 8   names. Each of the Defendants designated herein as a DOE is legally responsible
 9   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
10   Complaint to reflect the true names and capacities of the DOE Defendants when
11   such identities become known.
12         7.     Plaintiffs are informed and believe that at all relevant times, each and
13   every Defendant was acting as an agent and/or employee of each of the other
14   Defendants and was acting within the course and scope of said agency and/or
15   employment with the full knowledge and consent of each of the other Defendants.
16   Plaintiff is informed and believes that each of the acts and/or omissions complained
17   of herein was made known to, and ratified by, each of the other Defendants.
18                             FACTUAL ALLEGATIONS
19         8.     Beginning in or around January 2018, Defendant contacted Plaintiff
20   FABRICANT on his cellular telephone ending in -1083, in an effort to sell or solicit
21   its services. Defendant called, including but not limited to around January 8, 2018
22   at 2:55 p.m., and on January 10, 2018. Defendant called from telephone number

23   (605) 681-6027.

24
           9.     Beginning in or around June 20, 2019, Defendant contacted Plaintiff

25
     HUEGERICH on his cellular telephone ending in -8188, in an effort to sell or

26
     solicit its services. Defendant called Plaintiff HUEGERICH from telephone

27
     number (314) 779-4924.

28
           9.     Defendant used an “automatic telephone dialing system”, as defined



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 1   by 47 U.S.C. § 227(a)(1) to place its calls to Plaintiff seeking to sell or solicit its
 2   business services.
 3         10.    Defendant’s calls constituted calls that were not for emergency
 4   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
 5         11.    Defendant’s calls were placed to telephone number assigned to a
 6   cellular telephone service for which Plaintiff incurs a charge for incoming calls
 7   pursuant to 47 U.S.C. § 227(b)(1).
 8         12.    Plaintiffs are not customers of Defendant’s services and has never
 9   provided any personal information, including Plaintiffs cellular telephone number,
10   to Defendant for any purpose whatsoever. In addition, on at least one occasion,
11   Plaintiffs answered the telephone and told Defendant to stop calling him.
12   Accordingly, Defendant never received Plaintiff’s “prior express consent” to
13   receive calls using an automatic telephone dialing system or an artificial or
14   prerecorded voice on her cellular telephone pursuant to 47 U.S.C. § 227(b)(1)(A).
15
16                                CLASS ALLEGATIONS
17         13.    Plaintiffs brings this action on behalf of himself and all others
18   similarly situated, as a member of the proposed class (hereafter “The Class”)
19   defined as follows:
20
                  All persons within the United States who received any
21
                  telephone calls from Defendant to said person’s cellular
22                telephone made through the use of any automatic
                  telephone dialing system or an artificial or prerecorded
23
                  voice and such person had not previously consented to
24                receiving such calls within the four years prior to the
25                filing of this Complaint
26
27
           14.    Plaintiffs represents, and are a member of, The Class, consisting of

28
     All persons within the United States who received any telephone calls from



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 1   Defendant to said person’s cellular telephone made through the use of any
 2   automatic telephone dialing system or an artificial or prerecorded voice and such
 3   person had not previously not provided their cellular telephone number to
 4   Defendant within the four years prior to the filing of this Complaint.
 5         15.    Defendant, its employees and agents are excluded from The Class.
 6   Plaintiffs does not know the number of members in The Class, but believes the
 7   Class members number in the thousands, if not more. Thus, this matter should be
 8   certified as a Class Action to assist in the expeditious litigation of the matter.
 9         16.    The Class is so numerous that the individual joinder of all of its
10   members is impractical. While the exact number and identities of The Class
11   members are unknown to Plaintiffs at this time and can only be ascertained through
12   appropriate discovery, Plaintiffs are informed and believe and thereon alleges that
13   The Class includes thousands of members.            Plaintiffs allege that The Class
14   members may be ascertained by the records maintained by Defendant.
15         17.    Plaintiffs and members of The Class were harmed by the acts of
16   Defendant in at least the following ways: Defendant illegally contacted Plaintiffs
17   and Class members via their cellular telephones thereby causing Plaintiffs and
18   Class members to incur certain charges or reduced telephone time for which
19   Plaintiffs and Class members had previously paid by having to retrieve or
20   administer messages left by Defendant during those illegal calls, and invading the
21   privacy of said Plaintiffs and Class members.
22         18.    Common questions of fact and law exist as to all members of The

23   Class which predominate over any questions affecting only individual members of

24
     The Class. These common legal and factual questions, which do not vary between

25
     Class members, and which may be determined without reference to the individual

26
     circumstances of any Class members, include, but are not limited to, the following:

27
           a.     Whether, within the four years prior to the filing of this Complaint,
28                Defendant made any call (other than a call made for emergency


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 1                  purposes or made with the prior express consent of the called party)
                    to a Class member using any automatic telephone dialing system or
 2                  any artificial or prerecorded voice to any telephone number assigned
 3                  to a cellular telephone service;
              b.    Whether Plaintiffs and the Class members were damages thereby, and
 4
                    the extent of damages for such violation; and
 5            c.    Whether Defendant should be enjoined from engaging in such conduct
 6
                    in the future.

 7
              19.   As a person that received numerous calls from Defendant using an
 8
     automatic telephone dialing system or an artificial or prerecorded voice, without
 9
     Plaintiffs’ prior express consent, Plaintiff is asserting claims that are typical of The
10
     Class.
11
              20.   Plaintiffs will fairly and adequately protect the interests of the
12
     members of The Class. Plaintiffs have retained attorneys experienced in the
13
     prosecution of class actions.
14
              21.   A class action is superior to other available methods of fair and
15
     efficient adjudication of this controversy, since individual litigation of the claims
16   of all Class members is impracticable. Even if every Class member could afford
17   individual litigation, the court system could not. It would be unduly burdensome
18   to the courts in which individual litigation of numerous issues would proceed.
19   Individualized litigation would also present the potential for varying, inconsistent,
20   or contradictory judgments and would magnify the delay and expense to all parties
21   and to the court system resulting from multiple trials of the same complex factual
22   issues. By contrast, the conduct of this action as a class action presents fewer
23   management difficulties, conserves the resources of the parties and of the court
24   system, and protects the rights of each Class member.
25            22.   The prosecution of separate actions by individual Class members
26   would create a risk of adjudications with respect to them that would, as a practical
27   matter, be dispositive of the interests of the other Class members not parties to such
28   adjudications or that would substantially impair or impede the ability of such non-


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 1   party Class members to protect their interests.
 2         23.    Defendant has acted or refused to act in respects generally applicable
 3   to The Class, thereby making appropriate final and injunctive relief with regard to
 4   the members of the California Class as a whole.
 5
 6                             FIRST CAUSE OF ACTION
 7          Negligent Violations of the Telephone Consumer Protection Act
 8                                 47 U.S.C. §227 et seq.
 9         24.    Plaintiffs repeats and incorporates by reference into this cause of
10   action the allegations set forth above at Paragraphs 1-23.
11         25.    The foregoing acts and omissions of Defendant constitute numerous
12   and multiple negligent violations of the TCPA, including but not limited to each
13   and every one of the above cited provisions of 47 U.S.C. § 227 et seq.
14         26.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et
15   seq., Plaintiffs and the Class Members are entitled an award of $500.00 in
16   statutory damages, for each and every violation, pursuant to 47 U.S.C. §
17   227(b)(3)(B).
18         27.    Plaintiffs and the Class members are also entitled to and seek
19   injunctive relief prohibiting such conduct in the future.
20
21                           SECOND CAUSE OF ACTION
22   Knowing and/or Willful Violations of the Telephone Consumer Protection Act

23                                 47 U.S.C. §227 et seq.

24
           28.    Plaintiffs repeats and incorporates by reference into this cause of

25
     action the allegations set forth above at Paragraphs 1-23.

26
           29.    The foregoing acts and omissions of Defendant constitute numerous

27
     and multiple knowing and/or willful violations of the TCPA, including but not

28
     limited to each and every one of the above cited provisions of 47 U.S.C. § 227 et



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 1   seq.
 2          30.    As a result of Defendant’s knowing and/or willful violations of 47
 3   U.S.C. § 227 et seq., Plaintiffs and the Class members are entitled an award of
 4   $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
 5   § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 6          31.    Plaintiffs and the Class members are also entitled to and seek
 7   injunctive relief prohibiting such conduct in the future.
 8
 9                                 PRAYER FOR RELIEF
10   WHEREFORE, Plaintiffs requests judgment against Defendant for the following:
11
12                              FIRST CAUSE OF ACTION
13          Negligent Violations of the Telephone Consumer Protection Act
14                                  47 U.S.C. §227 et seq.
15                 As a result of Defendant’s negligent violations of 47 U.S.C.
16                 §227(b)(1), Plaintiffs and the Class members are entitled to and
17                 request $500 in statutory damages, for each and every violation,
18                 pursuant to 47 U.S.C. 227(b)(3)(B); and
19                 Any and all other relief that the Court deems just and proper.
20
21                            SECOND CAUSE OF ACTION
22    Knowing and/or Willful Violations of the Telephone Consumer Protection Act

23                                  47 U.S.C. §227 et seq.

24
                   As a result of Defendant’s willful and/or knowing violations of 47

25
                   U.S.C. §227(b)(1), Plaintiff and the Class members are entitled to

26
                   and request treble damages, as provided by statute, up to $1,500, for

27
                   each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47

28
                   U.S.C. §227(b)(3)(C); and



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 1              Any and all other relief that the Court deems just and proper.
 2
 3         Respectfully Submitted this 8th day of December, 2020.
 4                           LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 5
                                  By: /s Todd M. Friedman
                                      Todd M. Friedman
 6                                    Law Offices of Todd M. Friedman
 7                                    Attorney for Plaintiffs
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